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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,. Case No. 2:17-cr-00137-PD-1
Plaintiff, c]
2,9: Courthouse
Vv. Market Street
Bi adelphia, PA 19106
RUFUS SETH WILLIAMS, Nav 14 mw
Br Abe, RARKAN, Cle
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Defendant. ~~

October 24, 2017
2:01 p.m.

SENTENCING HEARING
BEFORE THE HONORABLE PAUL S. DIAMOND
UNITED STATES DISTRICT JUDGE

APPEARANCES:

For the Plaintiff ROBERT A. ZAUZMER

United States: U.S. ATTORNEY’S OFFICE
615 Chestnut Street, Suite 1250
Philadelphia, PA 19106

For Defendant THOMAS F. BURKE

Rufus Seth Williams: Borum Burke & Didonato LLC

1500 John F Kennedy Blvd., Suite 900

Philadelphia, PA 19102

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LETTER FROM SONITA WILLIAMS

ALLOCUTION OF THE DEFENDANT

INTENDED SENTENCE STATED BY THE COURT

JUDGMENT OF THE COURT

CERTIFICATE OF COURT TRANSCRIBER

EXHIBITS

NONE

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BXHIBITS

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(Call to Order of the Court at 2:01 p.m.)

JUDGE PAUL S$. DIAMOND: Please be seated, everybody.
Good afternoon.

MR. ROBERT A. ZAUZMER: Good afternoon, Your Honor.
Good afternoon.

MR. THOMAS F. BURKE: Good afternoon, Your Honor.

MS. JACKIE WIDMRIER: Good afternoon, Your Honor.

THE COURT: We are here for sentencing in this
matter. The sentencing is on the basis of a guilty plea to
Count 1 of the superseding indictment that charged the
defendant with travel and use of interstate facilities to
promote and facilitate bribery, contrary to Pennsylvania Law in
violation of federal Law.

On dune 29° of this year, Mr. Williams appeared
before me and pled guilty to Count 1 of the superseding
indictment; i conducted the colloquy and accepted the guilty
plea. The parties also stipulated that Mr. Williams committed
the offenses charged in Counts 2 through 29 of the superseding
indictment. Ten additional counts of travel and use of
interstate facilities to promote and facilitate bribery,
contrary to Pennsylvania law, in violation of federal law. Two
counts of obstructing and affecting interstate and foreign
commerce by extortion under color of official right in
violation of federal law. Two counts of scheming to defraud

the City and County of Philadelphia and its citizens of

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defendant’s honest services, aiso in violation of federal law.
Twelve counts of wire fraud in violation of federal law, and
two counts of mail fraud.

I have received a revised presentence investigation
report, a sentencing recommendation, the government’ s
sentencing memorandum and motion for order of forfeiture. The

defendant’s sentencing memorandum with numerous ietters in
support. I received a letter from Ms. Dreisbach (Phonetic),
and a letter from Ms. Motherall (Phonetic). I today, received
a letter from Richard Wall (Phonetic), I also received the
government’s final order of forfeiture which was just submitted
to me.

Are there any additional -- or, first of all, are
there any other materials that have been submitted that I've
not just referred to?

Mr. Burke?

MR. BURKE: No, Your Honor.

THE COURT: Mr. 4auzmer?

MR. ZAUZMER: No, sir.

THE COURT: Are there any additional materials anyone
would like to submit now, Mr. Burke?

MR. BURKE: Your Honor, the only additional material
that I711 submit during my presentation is a letter from Sonita
Williams and if the Court doesn’t mind, I'd like to read that

into the record.

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THE COURT: Certainly.

MR. BURKE: Thank you.

THE COURT: MR. d4auzmer?

MR. ZAUZMER: No, Your Honor.

THE COURT: Mr. Williams, have you received a revised
presentence investigation report?

MR. RUFUS SETH WILLIAMS: I have, Your Honor.

THE COURT: Have you had full and ample opportunity
to review it, and have you, in fact, done so?

THE DEFENDANT: Yes, Your Honor.

THE COURT: Mr. Burke, have you reviewed the revised
presentence investigation report?

MR. BURKE: I have, Your Honor.

THE COURT: Mr. Zauzmer, have you reviewed the
revised presentence investigation report?

THE COURT: Yes, Your Honor.

THE COURT: I have reviewed defendant’s objection to
the report, he argues that paragraph 28 of the report .
incorrectly provides that Mr. Williams requested a police
escort for Mr. Ali to be provided by Captain Sullivan when Mr.
Ali arrived at the Philadelphia airport -- flew into the
Philadelphia airport. And my reading of the record confirms
that objection so I will sustain the objection.

Does anyone have any other objections to the revised

presentence investigation report that he has not previously

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made, but would like to make now?

Mr. Burke?

MR. BURKE: No, Your Honor.

THE COURT: Mr. 4auzmer?

MR. ZAUZMER: No, Your Honor.

THE COURT: I will accept and adopt the facts and
conclusions as set out in the report for purposes of this
sentencing.

Accordingly, I conclude that under the guidelines,
the advisory guidelines, the offense level is 24, the eriminal
history category is one, and the advisory guideline sentences
between 51 to 63 months imprisonment. However, there is a
statutory maximum penalty of 60 months on Count 1 of the
superseding indictment, meaning that the guideline range is
between 51 and 60 months imprisonment.

Yesterday, I granted the government’s motion for an
order of forfeiture of the 33,000 -- $33,009, and I believe
that was part of the -- actually, it was a much larger amount,
but it was part of the guilty plea agreement; is that right,
Mr. Burke?

MR. BURKE: Yes, Your Honor.

THE COURT: And the government also requested that I
grant its -- grant its motion to substitute assets because one
or more of the conditions of 21 U.S.C. 853(p) had been met but

didn't indicate what -- how it would satisfy those conditions.

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Do you object to the substitution request, Mr. Burke?

MR. BURKE: F£ do not, Your Honor.

THE COURT: Very well. Then I will grant your
request, Mr. Zauzmer, to substitute property in the event as
you seem to think there are no assets to satisfy the $33,000
forfeiture.

MR. ZAUZMER: Well, if I could address that, Your
Honor.

THE COURT: Sure.

MR. ZAUAMBR: I think, Your Honor’s point recording
the fact that there are no substitute assets right now is well
taken. In our form orders that we’ve submitted throughout the
District Court, we include the provision but I think Your Honor
was vight that it’s not necessary at this time. So that’s why
once we received your order, and appreciating that order, we
prepared this new final order, which is only a money judgment
that we’re asking for at this time.

THE COURT: Well, you can -- you can move to amend.
The statute doesn’t give you any limit in terms of ——

MR. ZAUZMBR: I -- exact -- well, what we really
should do is if we identify substitute assets —-

THE COURT: Right.

MR. ZAUZMER: ~-- we will always come back to the
Court —--

THE COURT: Right.

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MR. ZAUZMER: -- under Section 853. So what we’re

asking is that the Court now, as part of the judgment, sign the

final order of forfeiture. That will be final as to Mr.

Williams. JI don’t think there will be any third-party claims,

but it’s not final as to any third party.

THE COURT:

MR. BURKE:

THE COURT:

dispute, Mr. Burke?
MR. BURKE:

THE COURT:

Any objections?
No, Your Honor; I’ve reviewed it.

Very well. Are there any other issues in

I don’t think so; no, sir.

Mr. 4Zauzmer?

MR. ZAUZMER: No, Your Honor.

THE COURT:

Mr. Burke, do you have any evidence,

remarks, or witnesses you would like to present?

MR. BURKE:
THR COURT:
MR. BURKE:

May I, Your Honor?
You may.

Your Honor, as the Court is aware under)

Section 3553{(a), the Court, obviously, has to consider the

nature and circumstances of the crime. The Court obviously sat

in trial for almost two weeks and listened to the evidence, and

it was also played out over the many months prior to the

trial’s beginning.

LT ask the Court ~~ obviously, the Court’s

going to focus on the nature and circumstances of the crime,

but as the Court is aware you also have to look at the history

and characteristics

of the defendant in formulating in your

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mind what the appropriate sentence is. So I ask the Court to
take into consideration the following: the Court has
appropriately outlined what the guidelines are, at 51 to 63,
and they suggest a guideline range, but with a statutory max of
60 months. The Court appropriately and correctly stated that
the guidelines are 51 to 60 months.

First:and foremost, I am aware that the Court -- or f
filed with the Court yesterday a multitude of letters and I,
knowing the Court’s thoroughness, I’m sure the Court has
reviewed them thoroughly, sir, and I ask that you make them
part of the record.

THE COURT: So ordered.

MR. BURKE: Many of the authors of these letters are
present. in the courtroom, sir. Some are not, they could not be
here for a variety of reasons. I would like to turn and ask
the audience to stand for any of the supporters of Seth
Williams so that you may see who those people are?

THE COURT: Sure.

MR. BURKE: All those here in favor of Seth Williams,
will you please rise?

Thank you,

I do have one additional letter that was submitted to
me this morning by Sonita Williams. May I read it, sir?

THE COURT: You may.

MR. BURKE: Okay.

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It says, dear, Your Honor, my name is Sonita
Williams. I have known Seth Williams for 23 years. For 17 of
those years I was his wife. Seth and I have remained close
despite our divorce and I am proud to be here to support him
today, not just because he is the father of my children, but
because he is my friend. I’m not here to pretend that Seth is
a perfect man, but Seth is a good man. Seth is a family man.
He is a man devoted to his community. For much of his life he
has been committed to doing good and helping those less
fortunate than himself.

That commitment to others led him to become the
District Attorney of Philadelphia. Unfortunately, Seth is also
a flawed man and his flaws led him to make flawed decisions
and, ultimately, has led all of us to being here today. Your
Honor, you have heard many of the good things Seth has done for
his family, friends, and the community at large. I ask that
you consider those things, along with the charges against him,
as you sentence him today. I ask that you also consider the
remorse that Seth feels for his actions that have brought us
here and know that he truly wants to be a better man.

Seth has lost everything, the career he has worked so
hard for, the respect of his colleagues and friends, and his
very freedom. Being away from his children and his elderly
mother has been extremely difficult for all of them. Tf am

asking that as you impose sentence today, you consider the

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whole of Seth’s life, good and bad. Consider the man who has
done much good for many, the man who has love —— who loves and

is loved by family and friends, and the man who has the

capacity and willingness to live better -- a better life, and
be even a -- and be an even better man.
IT am hopeful that you -- as you impose sentence, Seth

will be allowed. to remain close to his mother and chiidren sO
that they may be allowed to continue their close bond with him.
His mother Imelda is 85 years old and has not seen him since
June 29™, 2017. His daughters, Taylor and Hope, have oniy
been allowed four visits since that time. I ask that you
consider them and how your sentence will affect them.

Thank you for your consideration, sincerely, Sonita-
Wiiliams.

As I was stating to the Court, the Court needs to
focus on the history and characteristics of the defendant. And
in imposing the appropriate sentence, I’d ask the Court to
consider the following. I’d asked the Court to consider the
thousands of lives that Mr. Williams changed not just as the
District Attorney and the crime victims that he -- he
represented, but the many years of service he had in the
District Attorney’s office as an assistant district attorney.

I know the Court’s history, the Court can appreciate as an
assistant district attorney the long hours, the low pay, and

the heavy caseload. No one does it for the glory, they do it

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for the good of the job, so when imposing a sentence and
determining or considering his nature -- his nature and
characteristics, I ask you to consider the many years he served
as an assistant district attorney in the city of Philadelphia.

I’d ask you to also look at, notwithstanding the fact
that the crime for which he stands -- stands convicted of
occurred while he was the District Attorney of Philadelphia
County, I ask you to look at the great strides that he made toa
improve the office, including changing the office from a
horizontal base to a vertical base prosecution. As the Court
is aware there was great effort for Mr. Williams and his office
to convince the criminal justice system in the First Judicial
District to change the way that the prosecution teams in the
courtrooms were set up. Mr. Williams was able to implement a
vertical prosecution, enabling assigning prosecutors to a
particular neighborhood so that those prosecutors knew the
police better, knew the crime trends, and could better
effectuate criminal prosecutions in those various
neighborhoods, enabling what all prosecutors want is safer
streets for the community. So that was a great achievement and
E ask the Court. to consider that.

L ask ‘the Court to consider the many programs he
implemented for low-level offenders, by creating more
diversionary programs for low-level offenders. It certainly

freed up more money for the District Attorney’s office ta go

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after larger and more serious crimes. But it also —- Lt
enabled first-time offenders to pay their debt to society and
still maintain a clean record. JI think in the criminal justice
system all the participants, the lawyers, the judges,
probation officers, police officers, agents, understand that
individuals with criminal records find it difficult moving
forward in society. Mr. Williams certainly recognized that and
expanded those programs, AMP 1 and AMP 2 and the SAM program.

Some individuals, obviously, couldn’t qualify for
that, Your Honor, so he expanded the programs because these
individuals may have already had criminal records that were the
low-level nature, but he expanded some of these programs to
attempt to get these individuals some sort of education so
notwithstanding their criminal conviction they could still move
forward in a positive way.

t ask the Court to take into consideration that under
Seth Williams, the discharge rate of felony arrests at the
preliminary hearing drastically dropped, primarily due to his
implementation of the vertical prosecution system. I ask the
Court to also take into consideration that under Mr. Williams’s
leadership at the District Attorney’s office the request for
death penalty notices in capitai cases was greatly reduced. I
asked the Court to take that into consideration.

I also ask the Court to take into consideration his

nearly 20 year service in the military, beginning in the Army

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Reserves in 1998 and the Judge Advocate General where he
attained the rank of Major. He has served for the Pennsylvania
National Guard since 2015. JF ask the Court to take that into
consideration in considering the appropriate sentence.

I ask the Court to take into consideration, his
dedication to his faith, the many years of service he had to
St. Carthage in West Philadeiphia. And the archdiocese as a
member of the parish council and the Catholic Church’s Cluster
Council. The parish council as the Court knows, Mr. Williams.
and others in the community of the parish are charged with
running the parish outside of the theology. Mr. Williams's
work led to his placement on the arch -- on Catholic Church’s
Cluster Council with which also -- which oftentimes had to deal
with the painful job of downsizing or closing parishes and then
unify them in another parish due to the shrinking population of
Catholics. So I'd ask the Court to take into consideration his
long service to the Catholic Church.

I aiso ask you to take into consideration the courage
Mr. Williams showed in as a Catholic taking on the Catholic
Church and uncovering years of abuse by pedophile priests. The
investigations here in Philadelphia became a model for other
DA’s offices in other dioceses throughout the country. I ask
you to take into consideration his 20 years of service in the
Overbrook Civic Association where he volunteered his time in

neighborhood beautification, trash removal, zoning issues, and

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organized sports. Mr. Williams, himself, was a coach for many,
many years for his daughters and other boys and girls in the
neighborhood as they progressed through the sports program.

IT ask you to take into consideration his very strong
family ties, particularly his mother, his former wife and his
two teenage daughters. Although divorced, Mr. Williams and his
former wife, Sonita, are both primary parents and Mr. Williams
was fully invested in all aspects of their lives. I also ask
you to take into consideration when formulating the appropriate
sentence for the defendant, I ask the Court to take into
consideration some of the ancillary punishments that Mr.
Williams will or has suffered. Mr. Williams was suspended from
the Pennsylvania Bar as of last week. He was Gisbarred. Mr.
Williams will not be able to practice law upon his -- from
release for however long the -- the Court determines the
appropriate sentence. So he is not going to be able to obtain
employment for himself, and obviously for the restitution that
he needs to pay, in his chosen profession.

He has also lost his sizable pension. As Mr.
Williams ig now in his fifties, as I am, your thoughts start to
change in terms of how you're going to support yourself in your
-- as you are winding down your career, I ask you to take that
into consideration, he is going to have to start from scratch.
And when he is released he is going to be virtuaily penniiess,

so I ask the Court to just consider that in what the Court

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deems to be an appropriate sentence.

The only other request I have of the Court is that
the Court balance not only the nature and circumstances of the
crime but the history and characteristics of the defendant. 1f
do ask that the Court -- if the Court would consider releasing
Mr. --

THE COURT: We're not there yet.

MR. BURKE: Yes, sir. We’1ll do that at the end?

THE COURT: Yes.

MR. BURKE: Your Honor, I have -- I’m going to read
an allocution from my client, may I wait to the end or do you.
want me to do that now?

THE COURT: I was going to call on your client right
now --

MR. BURKE: Okay.

THE COUR: Mr. Williams, you have the right to
allocution, that means you have the right to speak to me on
your own behalf and you may do so now if you choose to exercise
that right.

MR. BURKE: I’m going to read a prepared statement
from Mr. Williams if that’s all right with the Court?

THE COURT: It certainly is.

MR. BURKE: Thank you, sir.

MR. ZAUZMER:? Your Honor, I would ask that Mr.

Williams confirm that on the record --

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MR. BURKE: Oh,

MR. ZAUZMER: —-— that he doesn’t wish to personally
address the Court.

THE DEFENDANT: If it please the Court, good
afternoon, Your Honor. It is my wish to have Mr. Burke read
into the record my statement.

THER COURT: Very well.

THE DEFENDANT: Thank you, Your Honor.

MR. BURKE: May I, your Honor?

THE COURT: Yes,

MR. BURKE: Good afternoon, and if it please the

Court, Your Honor, prosecutors, federal agents, members of the

media, friends and family. i have made mistakes, mistakes of
character and judgment. These are my mistakes and my mistakes
alone. If am truly sorry for that, for the embarrassment

brought to my family, friends, the institutions IT love, and for
failing the people of Philadelphia who put their trust in me.

I want to thank my attorneys, Thomas Burke, Trevan
Borum and John Hanamirian for their sacrifice, skiliful
advocacy and friendship. I also want to thank all of the
wonderful people that sent letters to the Court on my behalf
and those that -- and those that are here to support me today.
Your support has given me hope and I am extremely grateful.

Your Honor, I have spent my entire life trying to

serve my church, my community, and my nation. I owe everything

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to my parents Rufus and Imelda Williams. Their -~ they
sacrificed for me, instilled all of the right values and by
their lives demonstrated to all what it meant to live, love,
laugh, and to serve others. I am proud of all of my
accomplishments and I give my parents and God the glory. Il
apologize to them for my failures and for letting them down.

My success and achievements were theirs. My errors were my
own. My father always told me, unless you are willing to be a
part of the solution, you forfeit your right to complain. Sol
tried to help find solutions that T thought would live up to my
parents’ example at each phase of my Life.

Your Honor, I owe a huge apology to the people of
Philadelphia, serving as District Attorney for the city I love
and becoming the first African American DA in the history of
Philadelphia was a privilege of my life. But rather than
holding myself to a higher standard, Tf squandered that trust
placed in me. I am truly sorry. After serving as an ADA for
ten and a half years, T wanted to be the DA to help find
solutions and hopefully make the office and the eriminal

justice system better.

Tt was my goal to be a good steward of the office and
to try to -- and to turn over my successor ~~ to turn it over
to my successor better than when I took the oath of office in

January of 2010. I’m extremely proud of that. We achieved the

DA’s office working in collaboration with the community,

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police, courts and clergy, to expand diversionary programs,
community-based prosecutions, Gunstat, and focused deterrence.

I loved serving as DA. The public policy changes,
community events, walking in the neighborhoods and hearing the
concerns of neighbors, visiting hospitals, speaking at schools,
~ would not have been able to do any of these things without
the hard work of the people that got me elected, volunteers and
campaign candidates. They believed in me and my vision to be
the District Attorney. I have failed them.

To Kelley Hodge and all of them men and women, past
and present that work at the Philadelphia District Attorney's |
Office, I offer you my sincerest and humbie apology for the
shame I brought to the office that I love.

Your Honor, I have spent my adult life trying to
provide for my daughters, Alyssia, Taylor, and Hope. I hope ito
create -- I hoped to create a legacy that would open doors for
them. I love them dearly, they have stood me during this my
darkest hour, and I am grateful. I must publicly apologize to
them for the embarrassment, suffering, and trauma that my
actions have caused them. .

Your Honor, with your permission I will take the
opportunity to publically apologize to the two women that I
have loved the most in my life and whom I have hurt the most.
My sins, my selfishness, my immaturity, my bad judgment, and

self-destructive behavior has hurt both of them deeply and it

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was unnecessary. It has caused them great pain and public
humiliation. So to Stacey and Sonita I offer my most sincerest
and heartfelt contrition. I beg their forgiveness.

I must also apologize to the friends, loved ones, and
all the members of the Crodupp (Phonetic}, Cummings and
Williams’ family. Sonita and Stacey deserve better from me at
all times and I let them down. I am forever indebted to them.
and will spend the rest of my life working to fix all that IL
have broken and to regain their trust. I know words are cheap,
t ask that they allow my actions to speak for me from this day
forward.

Your Honor, on the morning of June 29%" T accepted
the responsibility for what I have done. As a result, I lost
my job, reputation, pension, house, law license, and liberty.

IT have tried to use this experience and time to learn to grow
from my mistakes and to atone for my sins. I believe that all
of this had to occur and as it is an essential step, the price
IT had to pay, to complete the shedding of my old life anda to be
free to live -- and for me to be free to live a new life.

In closing I’m a man of faith and it has been my
faith that has carried me this far. It is also because of my
faith that I know that rehabilitation, reconciliation, second
chances and forgiveness, are all possible. When I am released
I will still be a relatively young man and I will have the

opportunity to prove to my family, my daughters, and my

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community that my mistakes were just that, mistakes, and that I
can be more than I have been and that the mistakes will not
define me.

That's the statement from my client, Your Honor.

THE COURT: Anything you want to add, Mr. Williams?

THE DEFENDANT: No thank you, Your Honor.

MR. BURKE: That’s all. I only have the final
requests, sir.

THE COURT: Very well.

Mr. Zauzmer?

MR, ZAUZMER: Thank you, Your Honor. Your Honor, as
the Court is aware the government requests that the Court
impose a sentence of 60 months imprisonment, which is within
the guideline range. It’s also the statutory maximum for this
offense. Ifm going to just briefly respond to Mr. Burke's
suggestion that the Court consider Mr. Williams’ public
service. rat’ something that we strongly disagree with. The
public office and whatever benefits that come with that do not
give anybody the license to commit a crime, and certainly do
not give anybody the ability to earn a lower penalty that some
other citizen who did not engage in public service.

There are dozens of people in this courtroom right
now who are public servants, a federal judge, a probation
officer, pretrial services court staff, law enforcement agents,

United States marshals, and none of these people here are

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thinking, oh, I want to go commit a crime because I'll then get
a benefit for the good public service that I've provided.

That's really antithetical to the way our democracy is

established.

Mr. Williams can get credit in the public forum for
the things he did in the DA’s office but that’s not why we're
here today. We’re here today because of the crimes he

committed using that office in order to commit those crimes and
that’s what has to be punished. And I think Mr. Williams
pretty much recognized that in his allocution statement when he
appropriately apologized to the people in the District
Attorney’s office. Whatever good programs or things he did
while he was there, this case had a devastating effect on the
District Attorney’s office.

There are hundreds of assistant DAs and other law
enforcement agents who go to work every day and do a very tough
job for a lot less money than Mr. Williams was paid to
prosecute the many crimes that are committed in this city. And
to have the elected District Attorney be exposed as someone who
was selling his office for favors, who was committing other
frauds, has a devastating effect on them, and on their pursuit
of justice that they’re trying to accomplish every day. That’s
what we should be focused on today and not giving any benefit
for the public service that he was compensated for and that he

swore himself to do.

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Now, there are positive attributes. We're not here
to say that Mr. Williams is an entirely bad person. I read the
very thoughtful, thorough letters, the character letters that
were presented by his friends and family. There’s no doubt
that Mr. Williams is a loving father, he’s a devoted member of
his church, he has engaged in other community activities
outside of his elected paid position and what that warrants --
in our view what it warranted, is that the government is not
seeking an upward variance in this case. The government did
not have to agree, of course, to this plea agreement to
sentence at 60 months. We did it because we looked at the
circumstances and they’re really no different now than we
perceived them back in June.

We looked at the circumstances and we saw that these
crimes were serious, that the guidelines for a serious sentence
in the range of 51 to 63 months and that because of the other
positive attributes of his life, we were not going to seek an
upward variance, which of course is our normal position. AS
Your Honor knows we ordinarily recommend within guideline
sentences and so we were pleased to take a plea that permits us
to ask for the appropriate within guideline sentence. That 60-
month sentence is significant and it’s appropriate.

We have crimes here involving taking bribes,
committing a fraud on a nursing home, committing a fraud on the

city and on the HIDTA program by taking vehicles for his

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personal use. Not once, not twice, but every single day for
five or six years, using these vehicles as his own. And, of
course, the PAC fraud as well, using the money of campaign
contributors to live a more lavish lifestyle for the meals and
the gym expenses and the $3,000 private birthday party and
everything else.

That all speaks volumes about Mr. Williams’ character
as well, that he was one who just would -- basically took
whatever opportunity came his way over a long period of time.
These were not impetuous crimes of a young person. These were
the crimes of a man in his forties, who was the chief law
enforcement officer of this city. And that, of course,
requires a significant penalty. One of the things I saw in the
character letters, I disagree with. I don’t have to name the
person but one respected gentleman wrote —~ he said, £ don’t
believe he is a bad person nor a person I would characterize as
a criminal. I view him as a man of faith who has made a
mistake in his life and has realized what those mistakes were,
and is trying to get his life back together. So with that, I
respectfully disagree. He is a criminal and he was a criminal
over a long period of time. We’re not talking about a, quote,
mistake. We're talking about a years’ long dereliction of his
responsibility to others.

This person in his letter -- this was someone from

his -- his JAG background in the Army. This person also

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suggested that Mr. Williams would have been better served if --

THE COURT: I’m just looking at the letter, I’m
Sorry.

MR. ZAUZMER: That's fine, and I don’t want to
interrupt.

THE COURT: No, go ahead.

MR. ZAUZMER: And I know you've studied the letters
as closely as I did. The -- this person suggested that he
would have been better served by a board of ethics advisors.
The fact of the matter is not just public officiais but
ordinary citizens do not need an ethics advisor to know that
you cannot take a bribe. They don’t need an ethics advisor to
know that you don't take cars from your employer and use it as
your personal vehicle for years on end. And certainly not cars
that belong to the HIDTA program that are supposed to be used
in the most sensitive and important drug investigations. That
you don’t use campaign contributions for these lavish meals and
deep tissue massages and all the other things that were listed
at trial. And you certainly don’t take money from a nursing
home or from the friends of your mother who are trying to
support your mother and help her with her expenses.

What ordinary citizens know is that if you're
fortunate enough, as Mr. Williams was, to earn $200,000 a year
or more that that, and even much less than that, certainly

permits you to live a comfortable life, to care for your

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family, to support your family and your needs. And it wasn’t
good enough for Mr. Williams. He just wanted more and that’s
where we get these serial offenses that we needed to lay out
before Your Honor and the jury in June.

And then the final point, of course, is that Mr.
Williams is not an ordinary citizen. He was the elected chief
law enforcement officer of this city and county, one of the
largest metropolitan areas in the United States. There needs
to be a significant sentence for retribution, for deterrence --
both for specific deterrence as to Mr. Williams, and for
general deterrence. As Your Honor knows just looking at the
courtroom behind me, this sentence is not issued in secret.
This will be well known throughout this area within moments of
the time the sentence is imposed and it should be made clear to
these citizens and to the elected officials of this area, that
this type of conduct that we saw here is simply not tolerable.

Thank you very much, Your Honor.

THE COURT: Thank you. In reviewing the presentence
investigation report, I have considered the guideline range
sentence in the report as just one of several factors,
including the following: The nature and circumstances of the’
offenses -- or of the offense and the history and
characteristics of the defendant. The defendant, as I
indicated before, pled guilty to one count and admitted the

other twenty-eight. Mr. Williams served as the District

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Attorney of Philadelphia from November ara, 2009 through June
29% 29017. During that tenure he engaged in five separate
criminal schemes, including bribery, defrauding a nursing home,
defrauding his political action committee, and misuse of City
vehicles.

As a result of these schemes, the defendant owes in
excess of $58,000 in restitution. As to Count 1 during
February 2012, Mr. Williams agreed to perform official acts for
a Bucks County resident in exchange for personal gifts,
including a sofa and a trip to the Dominican Republic. That
rather clinical ‘description of the defendant’s crimes doesn’t
really do them justice. The —- Ms. Widmeier’s presentence
report indicates, and there’s been no objection to this, that
during the time he served as District Attorney, the defendant
earned between 170 and $200,000 a year. That was not
sufficient to fund what could be called an extravagant
lifestyle that he craved.

The bribery -- the two bribery schemes demonstrated
guite clearly and the defendant admitted that he traded
official acts and promises for gifts, including cash. In
defrauding the nursing home, the facts underlying that show
that the defendant stole some $23,000 that was intended to pay
for his mother’s care. He signed innumerable documents
indicating providing quite plainly that he was the person

responsible for her care, he was the responsible person, he had

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control of her finances as a result, and as I believe it was
the director of the nursing home and Archdiocese and nursing
home, I might add, the defendant dumped her like a sack of
potatoes, or he washed his hands of her, whichever metaphor you
want to use. And feigned great ignorance of his obligation,
well, no, no, it’s the nursing home. It’s the nursing home

that has to pay for her care. I have to be a high roller at

various restaurants in town. I have to be able to entertain my
friends. I’m not going to care for my mother. I’m going to
take that $23,000.

He defrauded his own PAC. People who thought they
were contributing to his political campaign were paying his
dues and bills at the Union League and at the Sporting Club.
Why would anyone ever want to contribute to a political
campaign again when the highest law enforcement officer of this
city is eating with his face out of his own political action
committee, And as Mr. Zauzmer described his misuse of City
vehicles to the point where a lieutenant of county detectives
who is probably twice as tall as fT am, sat up there on the
stand trembling that he was testifying against his boss, trying
to describe how he wanted to say that the defendant was using a
HIDTA car, in effect, to go to the shore, but simply was
terrified to do it.

Mr. Williams lived in an orphanage and foster homes

before he was adopted at the age of 18 months. He is

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approximately 50 or 51 years old, has three daughters, two of
whom are dependent. His mother resides in a nursing home and.
suffers from Parkinson’s disease, diabetes, congestive heart
failure and kidney disease. The defendant has no criminal
history.

{ have considered the need for the sentence imposed
to reflect the seriousness of the offenses, to promote respect
for the law, to provide just punishment, to afford adequate
deterrence to criminal conduct, and to protect the public from
any crimes -- further crimes this defendant might commit.
There has been —- I’ve lived in this town since 1974 and the
history of this town suggests to me that ali too many public
officials equate elective or political office, as they view it
being synonymous with corruption and a license to be corrupt.
Almost from the time you took office, Mr. Williams, you sold
yourself to the parasites you surrounded yourself with, Mr.
ALi, Mr. Williams. In the case of Mr. Ali you suggested you
would fix a case for him. You were unable to do that but that
was the plain import of what you said.

You corrupted the electoral process by stealing or
converting money From your own —-- your own PAC. You
effectively stole money from your mother. You humiliated the
men and women of the District Attorney’s office, you impaired
the criminal justice system, a district attorney who wasn't

licensed to practice law, and you harmed all the citizens of

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this city. Your profound dishonesty has -= your own profound
dishonesty, in my view, has to be deterred, and other public
officials have to know that there may well be a day of
reckoning if they engage in corrupt conduct as you have.

I have considered the need to provide the defendant
with educational and vocational training and medical care. The
defendant was expelled from West Point in 1986 but later
graduated from Pennsylvania State University and Georgetown
University Law School. In addition to serving as
Philadelphia’s District Attorney, he was the Inspector General
of the City and an assistant district attorney in the city,
that he served as an internal investigator for the Stradley
Ronon firm, and as a litigator in the 4arwin Baum firm.

Last week he was disbarred from the Pennsylvania bar.
He has no history of mental illness or need for drug treatment
or substance abuse treatment. Once it appears he began to get
himself into trouble, he did attend therapy sessions. I have
considered the need to avoid sentencing disparities and the
need to provide restitution to victims. I will impose a
restitution -- a -- I will issue a restitution issue in the
amount of $58,422.83, which is the amount that probation has
recommended and has not been objected to.

I have considered everything submitted to me by both
parties. I have considered everything in the defendant's

brief, which Mr. Burke largely repeated here in court. His

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brief discusses the support of his family and friends, the
defendant's accomplishments as DA, the -- his military service,
that he has suffered great public shame, the loss of his law
license, and ancillary penalties such as the loss of his
pension.

T have considered everything Mr. Burke said to me in
court, the history and characteristics of his client, the
letters that have been submitted in Mr. Burke’s view confirm
the defendant’s good character, that the defendant has done
good things, that he has expressed remorse, that I should look
at the defendant's whole life, that I should consider the
effect a prison sentence on defendant’s family. The thousands
of lives defendant changed not just as district attorney but as
an assistant district attorney, the many improvements in the
administration of the DA’s office he worked, his 20 years of
military service, his dedication to his faith, his courage in
investigating the Catholic church, the 20 years he participated
in the Overbrook Civic Association, his family ties, and,
again, the ancillary punishment that he has suffered, including
disbarment and loss of his pension.

I have considered the statement that the defendant
chose not to make himself but to have read by his counsel, his
statement of remorse, which like his testimony at his detention
hearing, I simply do not find credible. Sir, much of your

allocution to me sounded like a campaign speech. I find it

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interesting that you say you owe everything to your parents in
your allocution statement. Evidently, you didn’t feel that you
owed them honesty because you stole, in effect, from your

mother. I deem the sentencing recommendation and the

presentence report as advisory. I’ve made sufficient findings

to fashion and impose a sentence.

We come now to the sentencing. I’m going to state
the sentence that I intend to impose, then I will ask counsel
whether there are any objections with respect to the accuracy
or the regularity of the sentence. If there are objections, I
will deal with them. If there are no objections, then I will
impose sentence. So right now I am not imposing sentence, I’m
simply stating the sentence I intend to impose.

Mr. Williams, I intend to impose the following
sentence: You will serve a term of 60 months incarcerations on
Count 1 of the superseding indictment. After you are released
from prison, you will participate in the supervised release
program of this Court for three additional years on Count 1.
Upon release you are to observe the standard conditions of
supervision. I will not impose a fine because I find you do
not have the ability to pay fine and restitution and
forfeiture. You shall pay restitution in the amount of
$58,422.83 plus interest. You shall also pay a special
assessment of $100. I will enter the government’s final order

of forfeiture in the amount of $33,009.

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Mr. Burke, do you know of any reason why the sentence
that I’ve just stated should not be imposed?

MR. BURKE: No, Your Honor.

THE COURT: Mr. 4auzmer?

MR. ZAUZMER: No, Your Honor.

THE COURT: Ms. Widmeler?

MS. WIDMELER: No, Your Honor.

THE COURT: Mr. Williams, it is the judgment of this
Court that you, Rufus Seth Williams, will be committed to the
custody of the Bureau of Prisons to be imprisoned for a term of
60 months on Count 1 of the superseding indictment. After you
are released from prison, you will participate in the
supervised release program of this Court for three additional
years on Count 1. Within 72 hours of release from the custody
of the Bureau of Prisons you shall report in person to the
probation office in the district to which you are released.

During your period of supervision, you shall not
commit another federal, state, or local crime. You shall be
prohibited from possessing a firearm or other dangerous device.
You shail not possess any illegal, controlled substance, and
shall comply with the other standard conditions of supervision
in this court. ‘You must submit to one drug test within 15 days
of commencement of supervision, and at least two thereafter as
determined by probation.

In addition you will comply with the following

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special conditions. You shall cooperate with your probation
officer in the investigation of your financial dealings and
provide truthful monthly statements of your income. You shall
also provide your tax returns upon request. You are prohibited
from incurring any new credit charges or opening additional
lines of credit without the approval of the probation
department, unless you are in compliance with a payment
schedule for your restitution obligation.

You shall not encumber or liquidate interest in any
assets unless it is in direct service of your restitution
obligation or otherwise has the express approval of the Court.
You shall cooperate in the collection of DNA as determined ~--—
as directed by probation. I will waive the imposition of a
fine because I find you do not have the ability to pay a fine
as well as restitution. And forfeiture, I will make the
government's proposed final order of forfeiture part of the Jéc
in this case.

You shall make restitution in the amount of
$58,422.83. Payment should be made payable to the Clerk U.S...
District Court for distribution of St. Francis Center for
Rehabilitation & Healthcare in the amount of $12,449.74, care
of Christine (Phonetic) Ladenburger, 1412 Landsdowne, Darby, PA
19023. Luther and Sylvia Randolph, $10,000. They reside at
3900 Ford Road, Unit 9A, Philadelphia, PA 19132. Frank

Breslin, Revenue Commissioner, City of Philadelphia, 1401 JFK

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Boulevard, Room 630, Philadelphia, PA 19102, in the amount of
$5,078.13. Department of Health and Human Services, HHS
Program Support Center, P.O. Box 530231, Atlanta, GA 30353-
20231, in the amount of $15,234.37.

After -- in the event that restitution is made to
those people and entities, the remaining restitution shall then
be paid to the U.S. Department of Justice, Crime Victims Fund,
in the amount of $15,660.59. I believe this is consistent with
the letter you sent me, Mr. Zauzmer, that the defendant’s PAC
director has agreed to -- that the restitution should, in fact,
be paid to the Justice Fund.

MR. ZAUZMER: It is. The fund is actuaily held by
the Treasury Department, the Crime Victims Fund. And the other
-- the only other thing that was on the first payments to the
other victims that Your Honor said, will be paid before the
Crime Victims Fund.

THE COURT: Yes, IT just said that.

MR. ZAUZMER: Right. I would just add that it will
be pro rata as payments are made,

THE COURT: Okay. That’s fine,

MR. 4ZAUZMER: Thank you.

THE COURT: The restitution is due immediately. It
is recommended that the defendant participate in the Bureau of
Prisons Inmate Financial Responsibility Program and provide a

minimum payment of $25 a quarter towards restitution. In the

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event the entire restitution is not paid before the
commencement of supervision, payment of supervision shall
become a condition of supervision ~- I’m sorry payment of
restitution shall become a condition of supervision and shall
be paid at the rate of at least $200 a month to commence 30
days after release from confinement. You shall notify the
United States Attorney for -- I guess it’s the district of New
Jersey and not this district. Is that right?

MR. ZAUZMER: Well, I would --

THE COURT: Who would be supervising the defendant's
supervision, this office or the New Jersey U.S. Attorney’s
Office.

MR. ZAUZMER: - think it will be the New Jersey
office, Your Honor.

THE COURT: Very weil. You shall notify the United
States Attorney for the district of New Jersey within 30 days
of any change of mailing address or residence that occurs while
any portion of the restitution remains unpaid. If the
restitution is not paid in full 15 days from today, I will
impose interest on the restitution. The interest will begin to
accrue on November 8", 2017. The interest will be completed
at a rate equal to the weekly average one year constant
maturity treasury yield as published by the Board of Governor's
of the Federal Reserve System for the calendar week preceding»

the first day on which the defendant is liable for interest,

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and you shall pay a special assessment of $100 which shall be
due immediately. As I indicated before I will make the
government’s final order of forfeiture a part of the judgment
and commitment order of this case, so I believe that’s a
forfeiture of $33,009, is that right?

MR, ZAUZMER: That’s correct, Your Honor,

THE COURT: You have heard me state that you are to
observe the standard conditions of supervision in this court.
Probation will go over each and every one of those conditions
with you. However, I want to emphasize one thing and it is
that you, Mr. Williams, not possess any firearms or dangerous
weapons. Being a convicted felon it would be illegal for you
to possess any firearms or dangerous weapons. There being no
objections or further submission, I order that the sentence b
imposed as I have just stated it to be.

Mr. Williams, I have now formally imposed sentence
and you have now for there —- and, therefore, now been
sentenced. The criminal process from the Court’s standpoint
over, but from your standpoint it is not over.

As you know, you have many obligations as a result
this sentence. Mr. Williams, I advise you that you have the
right to appeal, including the right to appeal the sentence
that I just imposed on you. You have 14 days in which to
appeal. Your right to appeal might be affected by the terms

your guilty piea agreement. I also advise you that if you ar

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unable to pay the cost of an appeal that you may apply for
leave to appeal in forma pauperis and if that leave is granted
for you to appeal in forma pauperis, then there won't be any
costs that would be imposed on you to take such an appeal,

If you so request, the Clerk of Court shall prepare
and immediately file a notice of appeal on your behalf. Now,
Mr. Williams you understand what I’ve just said with respect to
your ability to appeal?

THE DEFENDANT: I do.

THE COURT: The next thing I would like to address is
execution of sentence. I am prepared to order that Mr.
Williams begin serving his sentence immediately, unless counsel
has any reason for delay.

Mr. Burke?

MR. BURKE: May I address the Court?

THE COURT: Sure.

MR. BURKE: Your Honor, I would ask that the Court --
as the Court -- the Court took my client in custody on the day
of the plea but because of the nature of who it is, at the
Federal Detention Center he is not mixed in with the general
population. He is in the segregated housing unit. He is ina
cell by himself all day, except for one hour, he gets out to go
to a cage on the roof. He gets clothes three days a week. He
can only make one phone call ~~ one phone cali a month as

opposed to the other defendants downstairs, they can cail

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whenever they want. This has caused a great strain on his
relationship with his two teenage daughters and, you know, we
have spoke to Mrs. Williams. Not saying what the Court said .

and appropriately pointed out, the crimes against his mother,
his mother is in declining health, you know she is 85 years
old. She certainly wants to see her son. The -- you know, the
prospect that she would be able to survive 40 to 45 months of a
sentence is unknown, but certainly at 85 years old with the
physical ailments that the Court has noted on the record, I
would respectfully request that the Court would reconsider the
decision of January -- or of June 29", release him on house
arrest so that his mother can see him and that he can spend
some time with his daughters before being classified.

One of the fears here is -- is ~~ and I have spoken
to Joyce Hiracala (Phonetic) who is the regional director's
counsel for classification and movement. Because of who he is,
there is a distinct likelihood that he will not be allowed to
serve his sentence in the Eastern District of Pennsylvania or
in the District of New Jersey and couid very well wind up
serving a sentence several states away, making it incredibly
difficult for his girls to come and visit him, and practically
impossible for his mother to come and see him. In light of
that, I would ask that the Court, very respectfully if you
would reconsider your position, release him on house arrest to

his former wife’s address, pending classification so that his

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mother can see him.

I know the Court is very angry with my client and the
Court has every grounds to be so. I would ask that you do this
on behaif of his mother. The government has -- I spoke with
Mr. Zauzmer and I appreciate the position of Mr. Zauzmer and
Mr. Moran, and Mr. Gauri, and the government. They take no
position either way and I appreciate their courtesy in that
regard.

THE COURT: It’s interesting, Mr. Burke, because in
your sentencing memorandum you talked in asking me to -- in
effect to reconsider my June 29" decision. You talked at
great length about the defendant’s desire to see his mother,
and you mentioned the other things only at the end rather
briefly. Being the good lawyer that you are, and having heard
what I’ve said today, you’ve tried to upend the order of that.
When I read your request that the defendant be allowed to self
surrender so he could visit his mother, I thought to myself,
the English language doesn’t have the word to capture the
outrageousness of that request, whether it’s gaul, or hubris,
brass, audacity. The defendant stole from his mother and now
wants to visit her.

The -- my consideration of your client as a flight
risk has not changed since June 29°, Your request is denied.

MR. BURKE: May I --

THE COURT: The defendant will remain in custody.

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MR. BURKE: Just for the --

THE COURT: As for where he is designated, I
recommend that the Bureau of Prisons designate him as close to
this district as possible, consistent with their security
concerns, which is exactly what Ms. Widmeier told me they would
do.

Yes, Mr. Burke?

MR. BURKE: Your Honor, it wasn’t so he could visit
his mother, so his mother could see him. That was my request.
So the hubris was not for my client. There is no hubris on
behalf of Mr. Williams; she wants to see him,

THE COURT: If you care to read your pleading that
way, that’s fine with me. That’s certainly what you said here
in court. In any event, I am not changing my order.

is there anything else we need to discuss?

MR. BURKE: No. Thank you.

THE COURT: All right. My thanks to all counsel, to
probation, and to our marshal.

THE COURT DEPUTY: All rise.

(The proceeding concluded at 2:54 p.m.}

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CERTIFICATION

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I, Gillian Lawrence, court approved transcriber,

hereby certify that the foregoing, pages 1 to 41, is a correct

transcript from the official electronic sound recording of the

proceedings in the above-entitled matter, and to the best of my

ability.

Gillian Lawrent@ CER-255, CET-255 DATE:

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